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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION

 CLARENCE COCROFT, et al.,

        Plaintiffs,

 v.                                                  Civil Action No. 3:23-cv-00431-MPM-JMV

 CHRIS GRAHAM, et al.,

        Defendants.

                   PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
               THEIR UNOPPOSED MOTION FOR EXTENSION OF TIME
                TO RESPOND TO DEFENDANTS’ MOTION TO DISMISS


       Plaintiffs, Clarence Cocroft and Tru Source Medical Cannabis, LLC, respectfully submit

this memorandum in support of their motion for an additional nine days to respond to Defendants’

Motion to Dismiss (ECF 13), making the date for response January 12, 2024. In support of the

motion, Plaintiffs state as follows:

       1.      Plaintiffs filed this action on November 13, 2023. ECF 1.

       2.      On December 20, 2023, Defendants filed a Motion to Dismiss. ECF 13.

       3.      Absent an extension, Plaintiffs’ response to Defendants’ motion to dismiss is due

January 3, 2024. See L.U.Civ.R. 7(b)(4).

       4.      Federal Rule of Civil Procedure 6(b)(1)(A) allows the Court to extend the time to

respond to a motion to dismiss if a motion for an extension is made before the original time for

response has expired. The Fifth Circuit recognizes that Rule 6(b) grants district courts broad

authority to extend deadlines. L.A. Pub. Ins. Adjusters, Inc. v. Nelson, 17 F.4th 521, 524 (5th Cir.

2021). Indeed, “[i]f done prior to the expiration of the time limit at issue, a court may extend the

period for any reason, upon a party’s motion or even on its own initiative.” Id. “[A]n application


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for extension of time under Rule 6(b)(1)(A) normally will be granted in the absence of bad faith

on the part of the party seeking relief or prejudice to the adverse party.” 4B Wright & Miller, Fed.

Prac. & Proc. Civ. § 1165 (4th ed. 2023 update).

      5.       Plaintiffs seek this extension in good faith and the extension will not prejudice the

Defendants. Plaintiffs seek this nine-day extension in light of the forthcoming end-of-year

holidays. See, e.g., Palmer v. Kirkwood, 2020 WL 13905123, at *1 (E.D. Tex. Dec. 23, 2020)

(finding good cause to extend the deadline to answer “due,” in part, “to the upcoming holidays”).

Plaintiffs’ attorneys plan to spend the holidays with their families. Moreover, the law firm for

Plaintiffs’ attorneys will be closed from December 25, 2023, through January 1, 2024, limiting

their access to resources during that period. The extension will not prejudice Defendants, whose

attorneys have agreed to the extension.

      6.       This is Plaintiffs’ first request for an extension of time.

      7.       Counsel hereby certifies that he has conferred with opposing counsel concerning

this Motion on December 21, 2023, and they do not oppose it.



       Dated: December 22, 2023.                       Respectfully submitted,

/s/ Ari S. Bargil                                      /s/ Michael T. Lewis, Sr.
Ari S. Bargil (FL Bar No. 71454)*                      Michael T. Lewis, Sr.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2023, a true and correct copy of Plaintiffs’

Memorandum in Support of Their Unopposed Motion for Extension of Time was filed with the

Clerk of the court and sent via U.S. Mail to the following Defendants:

       Chris Graham
       Commissioner
       Mississippi Department of Revenue
       500 Clinton Center Drive
       Clinton, MS 39056

       Pat Daily
       Chief of Enforcement
       Mississippi Alcoholic Beverage Control Bureau
       Mississippi Department of Revenue
       500 Clinton Center Drive
       Clinton, MS 39056

       Dr. Daniel P. Edney
       State Health Officer
       State of Mississippi Department of Health
       570 East Woodrow Wilson Drive
       Jackson, MS 39216


                                                    /s/ Michael T. Lewis, Sr.
                                                    Michael T. Lewis Senior
                                                    LEWIS & LEWIS ATTORNEYS


                                                    /s/ Ari S. Bargil
                                                    Ari S. Bargil*
                                                    INSTITUTE FOR JUSTICE

                                                    *Admitted pro hac vice




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